       Case 3:08-cr-00162-ADC          Document 124        Filed 09/12/08      Page 1 of 8



                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,

                v.                                        CRIMINAL NO. 08-162 (ADC)

 GLADYS TORRES SANTIAGO [6],

 Defendant.

                            REPORT AND RECOMMENDATION

        Defendant Gladys Torres-Santiago was charged in Count One and the forfeiture allegation

of a thirteen counts Indictment and she has agreed to plead guilty to Count One. Count One charges

that, from in or about September 2002 through in or about June 2006, in the District of Puerto Rico,

and within the jurisdiction of this Court, this defendant, (6) Gladys Torres Santiago, together with

co-defendants (1) Edwin Jiménez-Irizarry, (2) Ivette Hernaiz-Rivera, (3) Ana I. Pantojas Maldonado,

(4) William Díaz-Meléndez, (5) Celida M. Martínez-Pérez, (7) José R. Lebrón-Robles, and (8)

Roselia Rivera-Rosa, knowingly and willfully conspired and agreed with each other, and with other

persons known and unknown to the Grand Jury, to commit an offense against the United States, that

is, being agents of the Puerto Rico Department of Education, a State government agency that

received in each one year period from 2002 through 2006 benefits in excess of $10,000 under a

Federal Program involving a grant, contract, subsidy, loan guarantee, insurance, or other form of

Federal assistance, did knowingly and intentionally misapply, embezzle, steal, obtain by fraud, and

otherwise without authority convert to their own personal use, without being the rightful owners,

property valued at $5,000 or more, that is, approximately four hundred fifty thousand dollars
         Case 3:08-cr-00162-ADC                     Document 124              Filed 09/12/08            Page 2 of 8



United States of America v. Gladys Torres-Santiago [6]
Criminal No. 08-162 (ADC)
Report and Recommendation
Page 2


($450,000), which was owned by and under the care, custody, and control of the Puerto Rico

Department of Education.                  All in violation of Title 18, United States Code, Section

666(a)(1)(A)(i)(ii) and 371.

          Defendant appeared before this Magistrate Judge on September 12, 2008, since the Rule 11

hearing was referred by the Court. Defendant was provided with a Waiver of Right to Trial by Jury,

which she signed and agreed upon voluntarily after examination in open court, under oath.

          Defendant indicated and confirmed her intention to plead guilty to Count One of the

Indictment, upon being advised of her right to have said proceedings before a district judge of this

court.1 Upon verifying through defendant’s statement her age, education and any relevant aspect as

to the use of medications, drugs, alcohol or substance dependency, and psychological or psychiatric

condition, to ascertain her capacity and ability to understand, answer and comprehend the interactive

colloquy with this Magistrate Judge, a determination was made as to defendant’s competency and

ability to understand the proceedings.

          Having further advised defendant of the charges contained in above-stated Count One, she

was examined and verified as being correct that: she had consulted with her counsel, Juan Alvarez-

Cobian, prior to the hearing for change of plea, that she was satisfied with the services provided by

her legal representative and had time to discuss with him all aspects of the case, insofar, among other




         1
            The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading Guilty (Rule
11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
        Case 3:08-cr-00162-ADC                  Document 124    Filed 09/12/08       Page 3 of 8



United States of America v. Gladys Torres-Santiago [6]
Criminal No. 08-162 (ADC)
Report and Recommendation
Page 3


things, regarding the change of plea, the consent to proceed before a United States Magistrate Judge,

the content of the Indictment and the charge therein, her constitutional rights and the consequences

of the waiver of same.

         Defendant was specifically appraised by this Magistrate Judge that, upon withdrawing her

initial plea of not guilty and now entering a plea of guilty to the charge specified, she was waiving

her right to a public, speedy, and a trial by jury constituted by twelve jurors who have to unanimously

agree to a verdict. She was also waiving her right to be presumed innocent and for the government

to meet the obligation of establishing her guilt beyond a reasonable doubt. Furthermore, she was

waiving her right during said trial to confront the witnesses who were to testify against her and be

able to cross-examine them, through counsel at said trial, as well as present evidence on her behalf.

She was also waiving the right to compel the attendance of witnesses and that subpoenas be issued

to have them appear in court to testify. Defendant was specifically appraised of her right to take the

stand and testify, if she so decided, or not to testify, and no inference or decision as to her guilt could

be made from the fact if she decides not to testify. Defendant was also explained her right not to

incriminate herself; that upon such a waiver of all above-discussed rights a judgment of guilty and

her sentence were to be based on her plea of guilty, and she would be sentenced by the judge after

considering the information contained in a pre-sentence report.

         As to all the above, defendant provided an individualized and positive acknowledgment of

each and every waiver and, with the assistance of her counsel, Attorney Alvarez-Cobian, indicated

she freely and voluntarily waived those rights and understood the consequences. During all this

colloquy, defendant was made aware that she could freely request from this Magistrate Judge any
        Case 3:08-cr-00162-ADC                  Document 124   Filed 09/12/08     Page 4 of 8



United States of America v. Gladys Torres-Santiago [6]
Criminal No. 08-162 (ADC)
Report and Recommendation
Page 4


additional clarification, repetition, or ask questions and that she may consult with her attorney at any

given time as to any issue.

         Defendant expressed her understanding of the penalties prescribed by statute for the offense

as to which she was pleading guilty. The penalty for the offense charged in Count One is term of

imprisonment of not more than five (5) years, a fine of not more than two hundred and fifty thousand

dollars ($250,000.00), a term of supervised release of not more than one (1) year in addition to any

term of incarceration, all pursuant to Title 21, United States Code, Section 841(b)(1)(B). The Court

must also impose a mandatory penalty assessment of one hundred dollars($100.00), per count, to be

deposited in the Crime Victim Fund.

         Pursuant to paragraph five of the Plea Agreement, defendant is aware that the Court may,

pursuant to Section 5E1.2(I) of the Sentencing Guidelines, Policy Statements, Application, and

Background Notes, order the defendant to pay a fine sufficient to reimburse the government for the

costs of any imprisonment, probation or supervised release. The defendant is aware that in some

instances, the Court may impose restitution to the victim. As part of this plea agreement, and should

the Court impose restitution upon the defendant, the defendant agrees to produce complete

information regarding all restitution victims and defendant agrees to execute a financial statement

to the United States (OBD Form 500).

         Having ascertained directly from defendant that she had not been induced in any way to plead

guilty, that no one had forced her in any way to plead guilty, nor that she had been offered any
        Case 3:08-cr-00162-ADC                  Document 124   Filed 09/12/08    Page 5 of 8



United States of America v. Gladys Torres-Santiago [6]
Criminal No. 08-162 (ADC)
Report and Recommendation
Page 5


reward or any other thing of value to get her to plead guilty, the document entitled “Plea Agreement”

made pursuant to Rule 11(c)(1)(A) & (B) FRCP (“the Agreement”) and “Plea Agreement

Supplement” were shown to defendant, verifying her signature and initials on each and every page.

         Pursuant to said Agreement, and insofar as Count One, as to which defendant already was

aware of the maximum possible penalties, defendant was appraised that it was up to the sole

discretion of the sentencing court what the sentence to be imposed on him will be. Defendant was

specifically informed that if the sentencing court were to impose a sentence which turned out to be

higher or more severe than the one she might be expecting, for said reason alone, defendant would

have no grounds for the court to allow her to withdraw her plea of guilty.

         The above-captioned parties’ estimate and agreement that appears in paragraph seven (7) of

the Agreement, regarding the possible applicable advisory Sentencing Guidelines, was further

elaborated and explained. Pursuant to U.S.S.G. § 2B1.1(a)(2), the Base Offense Level is of Six (6).

Pursuant to U.S.S.G. § 2B1.1(b)(1), a six (6) level increase is warranted because the offense involved

more than $30,000. Pursuant to U.S.S.G. § 3E1.1, a two (2) level reduction is warranted for

acceptance of responsibility. Therefore, the Total Offense Level is of Ten (10), yielding an

imprisonment range of six (6) to twelve (12) months, assuming a Criminal History Category of I.

         The parties agree to recommend a sentence of two (2) years of probation. The defendant

agrees that this sentence is reasonable pursuant to Title 18, United States Code, Section 3553(a).

         The United States and the defendant agree that no further adjustment or departures to the

defendant’s base offense level shall be sought by the parties other than 5K1.1 or Rule 35(b) motion

filed by the United States within its sole discretion. The parties agree that any request by the
        Case 3:08-cr-00162-ADC                  Document 124   Filed 09/12/08      Page 6 of 8



United States of America v. Gladys Torres-Santiago [6]
Criminal No. 08-162 (ADC)
Report and Recommendation
Page 6


defendant for an adjustment, departure, or a lower sentence will be considered a material breach of

this Plea Agreement and the United States will be able to request the withdrawal of the Plea

Agreement.

         The parties make no stipulation as to defendant’s Criminal History Category.

         Pursuant to paragraph fifteen (15) of the Agreement, the United States, after sentencing, will

request the dismissal of the remaining counts of the Indictment pending against the defendant,

pursuant to Rule 11(c)(1)(A) of the Federal Rules of Criminal Procedure.

         As part of the written Agreement, the government, the defendant, and her counsel also agreed

they are aware that the Sentencing Guidelines are no longer mandatory and are thus considered

advisory.

         Defendant was specifically informed that the above sentencing calculations were not binding

for the sentencing court, but were only estimates of possible terms of her sentence, which may

always be imposed, at the sole discretion of the court, up to the maximum penalties allowed by

statute, and dependent upon the information and verification thereof of the pre-sentence report that

the court would have before it at the time of imposition of the sentence.

         The government presented to this Magistrate Judge and to defendant, assisted by her counsel,

a summary of the basis in fact for the offenses charged and the evidence the government had

available to establish, in the event defendant had elected to go to trial, the commission of the offense,

beyond a reasonable doubt. Counsel and defendant acknowledged the evidence of the government

was fully disclosed to them and previously discussed between the two. Defendant was able to

understand this explanation and agreed with the government’s submission. Defendant was also read
         Case 3:08-cr-00162-ADC                      Document 124               Filed 09/12/08            Page 7 of 8



United States of America v. Gladys Torres-Santiago [6]
Criminal No. 08-162 (ADC)
Report and Recommendation
Page 7


and shown a written document entitled Government’s Version of the Facts, which had been signed

by defendant and her counsel and is attached to the Agreement, wherein the signature of counsel for

the government also appears.

          Defendant was explained the Agreement with the government does not bind any other

district, except the district of Puerto Rico, and it contained all the promises, terms and conditions

which defendant, her attorney and the government, have entered.

          Having once more ascertained that defendant has indicated not being induced to plead guilty,

and was entering such a plea because in fact she is guilty, without any promises or predictions being

made as to the sentence to be imposed by the court, defendant was informed that parole has been

abolished under the advisory Sentencing Reform Act and that any sentence of imprisonment would

be served, without her being released on parole. Defendant was additionally informed that prior to

sentence, the sentencing judge will have a pre-sentence report and that it would be made available

to her, to her counsel and to the government, so that they be allowed to correct or object to any

information contained in said report which was not accurate. Depending on the facts found by the

court at the time and the sentence imposed in this case both defendant and the government may

appeal the sentence of the court.2

          Count One of the Indictment was read in open Court to defendant and she stated she

understood the charges and that she was pleading guilty to Count One. Defendant was provided an

opportunity to see and examine the Indictment, indicating she availed herself of the opportunity to



          2
           The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in paragraph eleven
(11) a waiver of appeal.
        Case 3:08-cr-00162-ADC                  Document 124      Filed 09/12/08   Page 8 of 8



United States of America v. Gladys Torres-Santiago [6]
Criminal No. 08-162 (ADC)
Report and Recommendation
Page 8


further discuss same with her attorney and then she positively stated that what was contained in

Count One was what she had done and to which she was pleading guilty during these proceedings.

Thereupon, defendant indicated she was pleading guilty to Count One of the Indictment in Criminal

No. 08–162 (ADC).

         This Magistrate Judge after having explained to the defendant her rights, ascertaining that

she was acting freely and voluntarily to the waiver of such rights and in her decision of pleading

guilty, with full knowledge of the consequences thereof, and there being a basis in fact for such a

plea, is recommending that a plea of guilty be entered as to Count One of the Indictment in Criminal

No. 08-162 (ADC).

         IT IS SO RECOMMENDED.

         The sentencing hearing will be scheduled promptly, before Honorable Aida M. Delgado-

Colón, District Court Judge.

         San Juan, Puerto Rico, this 12th day of September of 2008.

                                                         s/ CAMILLE L. VELEZ-RIVE
                                                         CAMILLE L. VELEZ-RIVE
                                                         UNITED STATES MAGISTRATE JUDGE
